Case 4:19-cr-00212-JM Document 102 Filed 08/12/22 Page 1 of 2

 

DISTRICT
AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form) EASTERN ISTRICT COURT

UNITED STATES DISTRICT COURT AUG 12 2022

for the et DO -ELERK
Eastern District of Arkansas

DEP CLERK

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Civil Action No. Of b O Y' If Ck ee@-l0 |

 

Plaintiff/Petitioner

Kesha wal Aaykins

Defendant/Respondent

APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
(Short Form)

I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs of these proceedings and.
that I am entitled to the relief requested.

In support of this application, J answer the following questions under penalty of perjury:

1. If incarcerated. | am being held at: S hair aa a Delen tim (dare Jey

If employed there, or have an account in the institution, I have attached to this document a statement certified by the |
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

2. Ifnot incarcerated. If 1am employed, my employer’s name and address are:

My gross pay or wages are: $ , and my take-home pay or wages are: $ per
(specify pay period)

3. Other Income. In the past 12 months, I have received income from the following sources (check all that apply):

(a) Business, profession, or other self-employment O Yes 6
(b) Rent payments, interest, or dividends O Yes rn,
(c) Pension, annuity, or life insurance payments O Yes ae
(d) Disability, or worker’s compensation payments O Yes VNo
(e) Gifts, or inheritances O Yes ie
(f) Any other sources O Yes No

If you answered “Yes” to any question above, describe below ar on separate pages each source of money and
state the amount that you received and what you expect to receive in the future.
Case 4:19-cr-00212-JM Document 102 Filed 08/12/22 Page 2 of 2

AO 240 (Rev. 07/10) Application to Proceed in District Court Without Prepaying Fees or Costs (Short Form)

4. Amount of money that I have in cash or in a checking or savings account: $ “

5. Any automobile, real estate, stock, bond, security, trust, jewelry, art work, or other financial instrument or
thing of value that I own, including any item of value held in someone else’s name (describe the property and its approximate

value):
None

6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe and provide

the amount of the monthly expense):

None

7. Names (or, if under 18, initials only) of all persons who are dependent on me for support, my relationship
with each person, and how much I contribute to their support:

N pnc

8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):

None.

Declaration: J declare under penalty of perjury that the above information is true and understand that a false

statement may result in a dismissal of my claims.
f : . fh : _°

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Applicant's sighalure

Kesha Bajiins

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